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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


RICHARD LOPEZ AND GLORIA LOPEZ,
on behalf of themselves and all others
similarly situated,


               Plaintiffs,                           Civil Action No. 5:19-cv-380

       vs.

PROGRESSIVE COUNTY MUTUAL
INSURANCE COMPANY AND APRIL
HAGER,

               Defendants.



        RULE CV-88 JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT

       Pursuant to Local Rule CV-88 and the Court’s June 19, 2019 Scheduling Order (ECF 21),

the parties respectfully submit this Joint Alternative Dispute Resolution (“ADR”) report.

       1.      Status of settlement negotiations: Plaintiffs submitted a written joint demand to

the Defendants on July 12, 2019. Kymberly Kochis responded in writing on behalf of Progressive

County Mutual Insurance Company on August 7, 2019. John Fabry, on behalf of Plaintiffs,

provided additional information by email to Kymberly Kochis on August 8, 2019.

       2.      Identity of persons responsible for settlement negotiations for each party:

               A.      For Plaintiffs: John Fabry.

               B.      For Defendants: Kymberly Kochis.

       3.      Whether ADR is appropriate and identification of method, provider, how the

provider was selected, and how the provider will be compensated: Defendants do not believe

mediation would be productive at this time, but will reevaluate their position following the Court’s
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ruling on Plaintiffs’ Motion to Remand (ECF 18) and subsequent discovery. The parties believe

mediation would provide an appropriate forum to attempt resolution of this case, at the appropriate

time. The parties believe that they can mutually agree on a mediator for this matter at the

appropriate time. The parties agree that the cost of the mediator should be shared equally, with

Plaintiffs treated as a single party and Defendants treated as a single party for the purpose of

allocating the cost of the mediator. If the parties have not otherwise resolved this dispute, the

parties agree to mediate no later than April 3, 2020.

       4.      All of the parties who have appeared in the action conferred concerning the contents

of this ADR Report and have agreed as to its contents.

                                              Respectfully submitted,

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